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                           UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

 In re:
                                                  Case No. 20-40042-JMM

 PAULA LYNNE ZIEGLER,                             Chapter 7

                               Debtor.



                 ORDER SHORTENING TIME FOR NOTICE OF HEARING

          The Court having reviewed and considered the Motion to Shorten Time (Docket No. 59),

and good cause appearing therefore,

          IT IS HEREBY ORDERED that the Debtor is allowed to shorten the time for notice of

hearing on the Motion to Convert (Docket No. 56), and the Application to Employ (Docket No.

57), and a hearing shall be granted, such hearing to take place on the 27th day of April, 2020, at

1:30 p.m. This shall be a telephonic hearing. The parties in this case must dial into the Court’s

conferencing phone number at least ten minutes prior to the commencement of the telephonic

hearing using the following information:

Telephone number: 1-877-336-1829
Access Code: 5781287#
Security Code: 1234#

                                      DATED: April 14, 2020



                                      ________________________
                                      JOSEPH M. MEIER
                                      CHIEF U. S. BANKRUPTCY JUDGE
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Order submitted by: Matthew T. Christensen, proposed counsel for the Debtor in Possession
